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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


       UNITED STATES OF AMERICA                               Criminal No. 18-cr-

                        v.                                    VIOLATION:

       JACQUELINE D. BALL                                     18 U.S.C. $ 1001(a)(3)
                                                              (False Statements or Entries)
                        Defendant.


                                        INFORMATION

       The United States Attorney charges that:

                                          COUNT ONE
                                  (False Statements or Entries)

       At times material to this Information:

       1.      The United States Securities and Exchange Commission (SEC) was an independent

federal government agency whose mission was to protect investors, maintain fair, orderly, and

efficient markets, and facilitate capital formation. The agency's headquarters was located in the

District of Columbia.

       2.      Defendant Jacqueline D. Ball was a program management analyst who worked in

the SEC Office of Human Resources.

       3.      Standard Form 85-P (SF-85P), entitled "Questionnaire for Public Trust Positions,"

was a U.S. Government form used for certain background investigations and reinvestigations.

       4.      The instruction page for the SF-85P wamed, "The United States Criminal Code

(title 1 8, section 1001) provides that knowingly falsifying or concealing   a material fact is a felony


which may result in fines of up to $10,000, and/or 5 years imprisonment or both."

       5.      The person submitting an SF-85P had to sign their name below a certification that
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"My    statements on this form, and any attachments to it, are true, complete, and correct to the best

of my knowledge and belief and are made in good faith. I understand that a knowing and willful

false statement on this form can be punished by fine or imprisonment or both. (See section 1001

of title 18, United States Code)."

          6.     On or about February 20,2014, in the District of Columbia, Defendant Ball did

willfully   and knowingly make and use a false writing and document, knowing the same to contain

a   materially false, fictitious, and fraudulent statement and entry in a matter within the jurisdiction

of the executive branch of the Government of the United States, by electronically submitting and

certifying an SF-85P for an SEC background reinvestigation which falsely stated that Defendant

Ball had lived in Arlington, Virginia from in or around November 2013 to the present, when in

fact, as Defendant Ball knew, she had been living in Mount Pleasant, South Carolina since at least

in or around December 2013.

        (False Statements or Entries, in violation of    Title   18, United States Code, Section
                                               1001(a)(3))


                                                         JESSIE K. LIU
                                                         United States Attorney
                                                         for the District of Columbia


                                                 Bv:
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